                        Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 1 of 11


 ~AO 245B(05-MA)           (Rev 06/05) Judgment in a Criminal Case
                            Sheet I-D. Massachusens - 10/05



                                         UNITED STATES DISTRICT COURT
                                                           District of Massachusetts
           UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              V.
                   CARLOSURDAY                                              Case Number: 1:         08 CR 10298           - 004 - DPW
                                                                            USM Number: 27067-038
                                                                             Robert L. Sheketoff
                                                                            Defendant's Attorney
                                                                                                                   o    Additional documents attached


 o
 THE DEFENDANT:
[(] pleaded guilty to count(s)      Is of the Superseding Indictment on 11/12/09

o   pleaded nolo contendere to count(s)
    which was accepted by the court
o   was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:                                            Additional Counts - See continuation page     0
 Title & Section                   Nature of Offense                                                         Offense Ended
21 USC § 846                 Conspiracy to Possess With Intent to Distribute and to Distribute                 9/08               Is
                             Cocaine and Heroin




        The defendant is sentenced as provided in pages 2 through                1\        of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act 0 f 1984.
D The defendant has been found not guilty on count(s)
o   Count(s)          1 of the Indictment                 [{] is     0 are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                              The Honorable Douglas P. Woodlock
                                                                              Judge, U.S. District Court
                    Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 2 of 11


~AO 245B(05-MA)      (Rev 06/05) Judgment in a Criminal Case
                     Sheet 2 - D. Massachusetts - 10/05


                                                                                                     Judgment -   Page   2    of   11
DEFENDANT:   CARLOS URDAY
CASE NUMBER: 1: 08 CR 10298 - 004 - DPW

                                                               IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
                       60        month(s)
  DEFENDANT SHALL RECEIVE CREDIT FOR TIME SERVED.


   [{] The court makes the following recommendations to the Bureau of Prisons:

   Defendant should be designated to Fort Devens or and institution, commensurate with security, which is
   closest to his relatives.

   [{] The defendant is remanded to the custody of the United States Marshal.

  D The defendant shall surrender to the United States Marshal for this district:
     D at                                   0 a.m.       D p.m. on
     D as notified by the United States Marshal.
  D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     D before 2 p.m. on
        D as notified by the United States Marshal.
        D as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                           to

a-:­                                               , with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
                   Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 3 of 11

~AO 245B(05-MA)   (Rev. 06/05) Judgment in a Criminal Case
                  Sheet 2A - D. Massachusetts - 10/05

                                                                                Judgment-Page _ .....3"'-- of _-:.1..:..1_ _
DEFENDANT:   CARLOS URDAY
CASE NUMBER: 1: 08 CR 10298 - 004 - DPW
                                                             RECOMMENDATIONS TO THE BUREAU OF PRISONS
                                      ADDITIONAL ~MlR:NIDa:mMS
   Defendant should be designated to an institution commensurate with security where the defendant can receive
   appropriate drug treatment.

   Defendant should be designated to an institution commensurate with security where the defendant can
   participate in an Batterer's/Anger Management program.
                    Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 4 of 11


~AO 245B(05-MA)         (Rev 06/05) Judgment In a Criminal Case
                       Sheet 3 - D Massachusetts - 10/05


                                                                                                    Judgment-Page              4     of       11
DEFENDANT:   CARLOS URDAY
CASE NUMBER: 1: 08 CR 10298 - 004 - DPW
                                                          SUPERVISED RELEASE                                            [l] See continuation page
Upon release from imprisonment, the defendant shall be on supervised release for a term of:                   4 year(s)


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.
D The  above drug testing condition is suspended, based on the court's determ ination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
[l] The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
[Z] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
D student,
  The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works. or is a
           as directed by the probation officer. (Check, ifapplicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
     Ifthisjudgment imposes a tine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule 0 r Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
   I)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities:
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11 )   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permlsston of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
                  Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 5 of 11

~AO 245B(05-MA)    (Rev. 06/05) Judgment in a Criminal Case
                   Sheet 4A - Continuation Page - Supervised Release/Probation -10/05

                                                                                        Judgment   Page - - i - of _ ~ _
DEFENDANT:   CARLOS URDAY
CASE NUMBER: 1: 08 CR 10298 - 004 - DPW

                        ADDITIONAL[Z] SUPERVISED RELEASE 0 PROBATION TERMS




                        Continuation of Conditions of [{] Supervised Release 0 Probation

      DEFENDANT IS TO PARTICIPATE IN A PROGRAM FOR SUBSTANCE ABUSE AS DIRECTED BY
      THE US PROBATION OFFICE, WHICH PROGRAM MA Y INCLUDE TESTING, NOT TO EXCEED 104
      DRUG TESTS PER YEAR, TO DETERMINE WHETHER THE DEFENDANT HAS REVERTED TO THE
      USE OF ALCOHOL OR DRUGS. THE DEFENDANT SHALL BE REQUIRED TO CONTRIBUTE TO
      THE COSTS OF SERVICES FOR SUCH TREATMENT BASED ON THE ABILITY TO PAY OR
      AVAILABILITY OF THIRD PARTY PAYMENT.

      DEFENDANT IS TO PARTICIPATE IN A CERTIFIED BATTERER'S INTERVENTION/ANGER
      MANAGEMENT PROGRAM, AS DIRECTED BY THE PROBATION OFFICER. THE DEFENDANT
      SHALL BE REQUIRED TO CONTRIBUTE TO THE COSTS OF SERVICES FOR SUCH TREATMENT
      BASED ON THE ABILITY TO PAYOR AVAILABILITY OF THIRD PARTY PAYMENT.
                  Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 6 of 11

~AO 245B(05-MA)       (Rev 06/05) Judgment in a Cnmmal Case
                      Sheet 5 - D Massachusetts - 10/05

                                                                                                                   Judgment -           Page        6_   of     11
DEFENDANT:   CARLOS URDAY
CASE NUMBER: 1: 08 CR 10298 - 004 - DPW
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                                                                                    Restitution
TOTALS            $               $100.00                               $                                                    $


o    The determination of restitution is deferred until
     after such determination.
                                                                      . An Amended Judgment in a Criminal Case (AD 245C) will be entered



D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned Rayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 36640), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss·                             Restitution Ordered                                        Priority or Percentage




                                                                                                                                                  D See Continuation
                                                                                                                                                     Page
TOTALS                            $                           $0.00             $                   .....:::;$0::.:,..; ;.;00:;:.


D     Restitution amount ordered pursuant to plea agreement $


D The  defendant must pay interest on restitution and a fine of more than $2,500. unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.c. * 3612(f). A II of the payment options on Sheet 6 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.c. *3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o    the interest requirement is waived for the      0      fine       0   restitution.

     D the interest requirement for the        D fine 0               restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters I09A, 110, II OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                   Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 7 of 11

~AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                      Sheet 6 - D. Massachusetts - 10/05
                                                                                                      Judgment -     Page         7   0f   _---.,;1...;.,1__
                       CARLOSURDAY
DEFENDANT:
CASE NUMBER: 1: 08 CR 10298                          - 004 - DPW

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    D     Lump sum payment of$                                  due immediately, balance due

           D      not later than                                     , or
            o     in accordance        0      C,    0 D,
                                                   0 E, or 0 F below; or
 B   D Payment to begin immediately (may be combined with 0 C, 0 D, or 0 F below); or
 c   D     Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $
                        (e.g., months or years), to commence
                                                                                                                          over a period of
                                                                             (e.g., 30 or 60 days) after the date of this judgment; or

 D   D     Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $
                         (e.g.. months or years), to commence
                                                                                                                         over a period of
                                                                              (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:

      DEFENDANT SHALL PAY THE SPECIAL ASSESSMENT OF $100.00, IMMEDIATELY OR
      ACCORDING TO A PAYMENT PLAN ESTABLISHED BY THE COURT IN CONSULTATION WITH
      THE PROBATION OFFICER, IF NOT PAID IN FULL BEFORE RELEASE FROM PRISON THROUGH A
      BUREAU OF PRISONS FINANCIAL RESPONSIBILITY PROGRAM.

 Unless the court has expressly ordered otherwise. ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 imprisonment. All crIminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




  D   Joint and Several
                                                                                                                                 o     See Continuation
                                                                                                                                       Page
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




  D   The defendant shall pay the cost of prosecution.

  D   The defendant shall pay the following court cost(s):

  D   The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.                '
                  Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 8 of 11

AO 245B    (Rev 06/05) Criminal Judgment
           Attachment (Page I) - Statement of Reasons - D. Massachusetts - 10/05


             CARLOSURDAY                                                                                                    Judgment ­        Page    8    of     II
DEFENDANT:
CASE NUMBER: 1: 08 CR 10298 - 004 - DPW
DISTRICT:     MASSACHUSETTS

                                                              STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A    0       The court adopts the presentence investigation report without change.

      B    r)/     The court adopts the presentence investigation report with the following changes.
                   (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable)
                   (Use Section VIII If necessary )

                   o Chapter Two ofthe V.S.S.G. Manual determinations by court (including changes to base offense level, or
                        specific offense characteristics):



           2       0    Chapter Three of the V.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                        role in the offense, obstruction ofjustice, multiple counts, or acceptance of responsibi Iity):



           3       0    Chapter Four of the V.S.S.G. Manual determinations by court (including changes to criminal history category or
                        scores, career offender, or criminal livelihood determinations):



           4       IiZl' Additional Comments or Findings (including comments or factual findings concerning certain information In the
                        presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                        or programming decIsions)

                            Paragraph no. 142 Amended.

      C    0       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A    0       No count of conviction carries a mandatory minimum sentence.

      B    ~       Mandatory minimum sentence imposed.


      C O O n e or more counts of conviction alleged in the Indictmenl carry a mandatory minimum term of imprisonment, but the
             sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
             does not apply based on

                  o findings of fact in this case
                  o substantial assistance (18 USC ~ 3553(e))
                  o the statutory safety valve (18 US,c. ~ 3553(1)


III   COURT DETERMINA nON OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level:        25
      Criminal History Category: lIJ
      Imprisonment Range:      70                  to    87             months
      Supervised Rei ease Range:  4                           to    5            years
      Fine Range: $     10,000              to   $      4.000,000
      VJ    Fine waived or below the guideline range because of inability to pay.
                      Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 9 of 11

AO 245B (05-MA)          (Rev 06/05) Criminal Judgment
                         Attachment (Page 2)   Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                               Judgment -      Page     9   of        II
DEFENDANT:   CARLOS URDA Y
CASE NUMBER: 1: 08 CR 10298 - 004 - DPW
DISTRICT:     MASSACHUSETTS

                                                               STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A D                The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.

      B D                The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                         (Use Section VIII if necessary.)



      C [J               The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                         (Also complete Section V)

                         The court imposed a sentence outside the advisory sentencing gUideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (Ifapplicable.)

      A       The sentence im posed departs (Check only one.):
              D below the advisory guideline range
              D above the advisory guideline range
      B       Departure based on (Check all that apply.):

                              Plea Agreement (Check all that apply and check reason(s) below.):
                              D    5K 1.1 plea agreement based on the defendant's substantial assistance
                              D    5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                              D    binding plea agreement for departure accepted by the court
                              D    plea agreement for departure, which the court finds to be reasonable
                              D    plea agreement that states that the government will not oppose a defense departure motion.

              2               Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                              D 5K 1.1 government motion based on the defendant's substantial assistance
                              D 5K3.1 government motion based on Early Disposition or "Fast-track" program
                              D government motion for departure
                              D defense motion for departure to which the government did not object
                              D defense motion for departure to which the government objected
              3               Other
                              D      Other than a plea agreement or motion by the parties for departure (Check reason(s) below.);
      C           Reason(s) for Departure (Check all that apply other than 5K 1.1 or 5K3.1.)

D    4AI.3         Criminal History Inadequacy                D    5K2.1    Death
                                                                                                                     D 5K2.11 Lesser Harm
D    5Hll          Age
                                                              D    5K2.2    Physical Injury                          [J 5K212 Coercion and Duress
D    5HI2          Education and Vocational Skills            D    5K23     Extreme Psychological Injury             [J 5K213 Diminished Capacity
D    5HU           Mental and Emotional Condition             D    5K2.4    Abduction or Unlawful Restraint          D 5K2.14 Public Welfare
D    5HI4          Physical Condition                         D    5K2.5    Property Damage or Loss                  D 5K216 Voluntary Disclosure of Offense
D    5HU           Employment Record                          D    5K2.6    Weapon or Dangerous Weapon               [J 5K217 High-Capacity. Semiautomatic Weapon
D    5HI6          Family Ties and Responsibilities           D    5K2.7    Disruption of Government Function        D 5K218 Violent Street Gang
D    5HI II        Mrlltary Record, Charitable Service,       D    5K2.8    Extreme Conduct
                                                                                                                     D 5K2.20 Aberrant Behavior
                   Good Works
                                                              D    5K2.9    Criminal Purpose                         [J 5K2.21 Dismissed and Uncharged Conduct
D    5K2.0         Aggravating or Mitigating Circumstances    D    5K210    Victim's Conduct                         [J 5K2.22 Age or Health of Sex Offenders
                                                                                                                     D 5K2.23 Discharged Terms ofImprisonment
                                                                                                                     D Other guideline basis (e.g.. 2B 1.1 commentary)
      D           Explain the facts justifying the departure. (Use Section VIII if necessary .)
                     Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 10 of 11
AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
                Attachment (Page 3) - Statement of Reasons - O. Massachusetts 10105


DEFENDANT:   CARLOS URDA Y                                                                                                  Judgment -       Page 10 of            11

CASE NUMBER: 1: 08 CR 10298 - 004 - DPW
DISTRICT:     MASSACHUSETTS
                                                           STATEMENT OF REASONS
VI    COURT DETERMINAnON FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
      (Check all that apply.)
      A      The sentence imposed is (Check only one.):
           ..iJ below the advisory guideline range
             D above the advisory guideline range
      B     Sentence imposed pursuant to (Check all that apply.):
                         Plea Agreement (Check all that apply and check reason(s) below.):
                         D      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                         D      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                         D      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                                system

            2            Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                         ILl    government motion for a sentence outside of the advisory guideline system
                         D      defense motion for a sentence outside of the advisory guideline system to which the government did not object
                         D      defense motion for a sentence outside of the advisory guideline system to which the government objected

            3            Other
                         \ZI    Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below.)

      C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

            ~ the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S C § 3553(a)( I)
            ~ to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 USC § 3553(a)(2)(A»
            0(] to afford adequate deterrence to criminal conduct (18 US.C § 3553(a)(2)(B»
            D to protect the public from further crimes of the defendant (18 USC § 3553(a)(2)(C)
            D to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
              (18 U.SC § 3553(a)(2)(0»
            ~ to avoid unwarranted sentencing disparities among defendants (18 U.S.C § 3553(a)(6»
            D to provide restitution to any victims of the offense (18 U.SC § 3553(a)(7»

      o     Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VIII if necessary,)

             In recognition of the government's acknowledgment that the crack cocaine should be treated as powder cocaine for purposes
             of drug weight equivalence and the apparent overstatement of the defendant's criminal history.
                  Case 1:08-cr-10298-DPW Document 105 Filed 03/01/10 Page 11 of 11
AO 245B ( 05-MA) (Rev 06/05) Criminal Judgment
                 Attachment (Page 4) - Statement of Reasons - D. Massachusetts - 10/05

                          CARLOSURDAY                                                                                      Judgment ­      Page     11 of         11
DEFENDANT:
CASE NUMBER:              1: 08 CR 10298                 - 004 - DPW
DISTRICT:                  MASSACHUSETTS

                                                            STATEMENT OF REASONS

 VII   COURT DETERMINATIONS OF RESTITUTION

       A     ~      Restitution Not Applicable.

       B      Total Amount of Restitution:

       C      Restitution not ordered (Check only one.):

                    o For offenses for which restitution is otherwise mandatory under 18 US.C § 3663A, restitution is not ordered because the number of
                         identifiable victims is so large as to make restitution impracticable under 18 USC § 3663A(c)(3)(A)

              2     0    For offenses for which restitution is otherwise mandatory under 18 U S.C § 3663A, restitution IS not ordered because determining complex
                         issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                         that the need to provide reslJtution to any vIctim would be outweighed by the burden on the sentencing process under 18 US.C § 3663A(c)(3)(B)

              3     0    For other offenses for which restitution is authorized under 18 USC § 3663 and/or required by the sentencing guidelines, restitution is not
                         ordered because the complicatIOn and prolongation of the sentencing process resulting from the fashioning ofa restitutIOn order outweigh
                         the need to provide restitution to any victims under 18 US.C § 3663(a)( I )(B)(ii)

              4     0    Restitution is not ordered for other reasons. (Explain.)




       D      0     Partial restitution is ordered for these reasons (18 U,S,c' § 3553(c»;




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                      Sections I. II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

Defendant's Soc. Sec. No.:         XXX-XX-XXXX

Defendant's DateofBirth:           xx/xx/l962

Defendant's Residence Address:                                                                       Signature of Judge
                                                                                                Thc Honorable Douglas P. Woodlock             Judge, U,S. District Court
Defendant's Mailing Address:                                                                         Name and Title
                                                                                                     Date Signed
